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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



STATE OF NEW JERSEY, et al.

                               Plaintiffs,
                                                                 No. 1:25-cv-10139
       v.

DONALD J. TRUMP, et al.

                               Defendants.



        MOTION FOR ADMISSION PRO HAC VICE OF JULIO A. THOMPSON

       Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of attorney Julio A. Thompson, a member of the bar of Vermont, to serve as counsel for Plaintiff

State of Vermont in this matter.

       As set forth in the accompanying certification, Julio A. Thompson is (1) a member in good

standing of the bar of every jurisdiction to which he has been admitted to practice, (2) is not the

subject of disciplinary proceedings pending in any jurisdictions in which he is a member of the

bar, (3) has not previously had a pro hac vice admission to this Court (or other admission for a

limited purpose under Local Rule 83.5.3) revoked for misconduct, and (4) has read and agreed to

comply with the Local Rules of this District.

       WHEREFORE, this Court should admit attorney Julio A. Thompson pro hac vice to the

bar of this Court.
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January 21, 2025                      Respectfully submitted.

                                      ANDREA JOY CAMPBELL
                                       ATTORNEY GENERAL OF MASSACHUSETTS

                                       /s/ Gerard J. Cedrone
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                                       Massachusetts




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